                  IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF KANSAS
IN RE:

Paris Edward Thomas Loyle
Katherine Christine Loyle                  Case Number 19-10065-7
                 Debtor(s)


Paris Edgward Thomas Loyle and
Katherine Christine Loyle
                          Plaintiff(s),
      -vs-                                 Adv. No. 20-5073

United State Department of Education,
et al
                        Defendant(s).
________________________________


                       NOTICE OF EVIDENTIARY HEARING

         NOTICE IS HEREBY GIVEN that an Evidentiary Hearing to consider and act

upon Debtors’ Complaint to Determine Discharge of Student Loans, and the

Answer of United States Department of Education and Answer of Navient

Solutions LLC thereto, will be held before the U. S. Bankruptcy Court, 401 N. Market,

Room 150 , Wichita, Kansas 67202 on:

                               May 18, 2021 @ 9:00 am

 ***THIS CASE IS BEING SET ON A TWO (2) DAY STACKING TRIAL DOCKET
WITH OTHER EVIDENTIARY MATTERS SCHEDULED TO BEGIN ON THE SAME
DATE AND TIME. IN THE EVENT OF SETTLEMENT PRIOR TO TRIAL, PLEASE
        CONTACT ANNETTE ALBRIGHT OR MARNIE BOURBONNAIS
                AT THE BANKRUPTCY CLERK’S OFFICE***
Dated: April 5, 2021                       s/ Mitchell L. Herren
                                           Mitchell L. Herren
                                           U. S. Bankruptcy Judge




               Case 20-05073    Doc# 111   Filed 04/05/21   Page 1 of 1
